                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION


UNITED STATES OF AMERICA                   )
                                           )
v.                                         )        NO. 3:11-00194
                                           )        JUDGE CAMPBELL
MAURICE THOMPSON                           )


                                           ORDER


       Pending before the Court is a Motion to Withdraw (Docket No. 698). The Court will hold

a hearing on the Motion on September 21, 2012, at 9:00 a.m.

       IT IS SO ORDERED.



                                                    __________________________________
                                                    TODD J. CAMPBELL
                                                    UNITED STATES DISTRICT JUDGE




 Case 3:11-cr-00194      Document 703          Filed 09/18/12   Page 1 of 1 PageID #: 2295
